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                UNITED STATES COURT OF INTERNATIONAL TRADE

Before: The Honorable Gary S. Katzmann, Judge

                                                  )
 THE ANCIENTREE CABINET CO., LTD.
                                                  )
                                                  )
                    Plaintiff,
        v.                                        )   Court No. 20-00114
                                                  )
 UNITED STATES,                                   )
                                                  )
                    Defendant.                    )
                                                  )


                                             ORDER

       Pursuant to Rule 56.2 of the Rules of the United States Court of International Trade

("USCIT R."), Plaintiff The Ancientree Cabinet Co., Ltd., in support of its Rule 56.2 Motion for

Judgment on the Agency Record, and all other papers and proceedings had herein, it is hereby

       ORDERED that said motion is GRANTED, and it is further

       ORDERED that this case is remanded to Department of Commerce with instructions that

the Department redetermine aspects of its investigation as instructed by this Court in its

accompanying slip opinion.

DATED: ____________________                           ____________________________
      New York, New York                              Gary S. Katzmann, Judge




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